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                                   DISTRICT JUDGE'S MINUTES
                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF ARIZONA – PHOENIX
U.S. District Judge: Diane J. Humetewa          Date: October 26, 2023
USA v. Michael Lacey, et al                     Case Number: CR-18-00422-PHX-DJH

Assistant U.S. Attorneys: Kevin Rapp, Austin Berry, Margaret Perlmeter, Andrew Stone, Peter
Kozinets
Attorneys for Defendants: Paul J. Cambria Jr., Retained for Defendant Lacey, present; Bruce S. Feder,
Retained (Knapp) and Eric W. Kessler, CJA for Defendant Spear, present; Gary S. Lincenberg and Gopi
K. Panchapakesan, Retained for Defendant Brunst, present; David S. Eisenberg, CJA for Defendant
Padilla, present; Joy M. Bertrand, CJA for Defendant Vaught, present.

Defendants: ☒ Present ☐ Not Present         ☒ Released      ☐ Custody ☐ Summons ☐ Writ

JURY TRIAL (Day 25):

10:05 a.m. Court reconvenes. Discussion held re: Final Jury Instructions and Verdict. Defendants
renew their oral Rule 29 Motion with additional argument. IT IS ORDERED taking the matter under
advisement. 12:28 p.m. Recess.

1:30 p.m. Court reconvenes. As to the forfeiture issue being tried to the Jury, IT IS ORDERED the
parties shall file briefing of no more than seven (7) pages by Tuesday morning. 1:54 p.m. Recess.

1:59 p.m. Court reconvenes. 2:02 p.m. Jury present. Defendants rest. No rebuttal case by the
Government. Final Jury Instructions read. 3:06 p.m. Recess.

3:20 p.m. Court reconvenes. 3:22 p.m. Jury present. Government’s closing argument. 4:33 p.m. Court
in recess until Friday, October 27, 2023 at 8:45 a.m.


Court Reporter Hilda Lopez/Elaine Cropper                                     Start: 10:04 AM
Deputy Clerk Liliana Figueroa                                                 Stop: 4:33 PM
                                                                              Total: 5hrs 7min
